        Case 3:15-cv-02487-CCC Document 164 Filed 06/21/19 Page 1 of 4



                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

JORGE RAMIREZ                                    Case No. 3:15-cv-02487-CCC

Plaintiff,

vs.

PUERTO RICO TOURISM COMPANY, PUERTO
RICO CONVENTION BUREAU INC., J
WALTER THOMPSON PUERTO RICO, INC.,
and TURKEL SCHAPS, INC.

Defendants.



        MOTION TO STRIKE: NOTICE OF CHARGING LIEN, DOCKET 163

TO THE HONORABLE COURT:

       COMES NOW Plaintiff, through their undersigned attorneys,

and before this honorable court respectfully state, allege and

pray:

       1.      Tamaroff    Law,   P.A.    and    attorney    David   F.    Tamaroff

(“Tamaroff”) filed on June 11, 2019 a Notice of Charging Lien

(the “Notice”) in the present case. See Docket 163.

       2.      For   the   reasons     stated    below,     Plaintiff     does   not

recognize any charging lien or legal obligation towards Tamaroff

Law,    P.A.    and/or     attorney    David    F.   Tamaroff   in   the    present

matter.

       3.      In its introductory paragraph of the Notice it states

that    “Tamaroff’s        lien   is     for    legal   services     rendered    to

Plaintiff in this litigation for which Tamaroff has not been


                                           1
        Case 3:15-cv-02487-CCC Document 164 Filed 06/21/19 Page 2 of 4



compensated.”         Plaintiff         disagrees.              Tamaroff         and        all    the

attorneys,     firms,       associates,            etc.       that    have      been    contracted

without Plaintiff’s consent have already collected over $155,000

in fees and/or costs as part of the alleged contingency fee-

based agreement.

       4.     On paragraph 1 of the Notice it states that “Tamaroff

was    retained      by    Plaintiff         to    represent          him,      in    this    matter

pursuant to a written Representation & Contingency Fee Agreement

that    was    executed          on    or    about           July    17,     2014.”         Plaintiff

disagrees. The only Agreement Plaintiff signed was with the law

firm of Tamaroff & Tamaroff, P.A. Plaintiff has no agreement

with    Tamaroff,         P.A.    or    attorney             David    F.     Tamaroff        in    its

individual capacity.

       5.     Since       July    17,       2014       Mr.     Tamaroff,        Esq.        has    been

changing jobs through various Florida law firms. Mr. Tamaroff is

currently a member of the law firm of Morgan & Morgan. Every

time    Mr.        Tamaroff       changed          law        firms,       he        sent     a     new

representation agreement to Plaintiff, which Plaintiff has never

signed.       To     date        Plaintiff             has     received         various           legal

representation         agreements           from        Tamaroff       &     Tamaroff,            P.A.,

Lipscomb & Partners, PLLC and Morgan & Morgan, etc.

       6.     Although       Plaintiff         only          signed    agreement            was    with

Tamaroff & Tamaroff, P.A., the account statements he received

were from the law firm of Lipscomb, Eisenberg & Baker, P.L.


                                                   2
        Case 3:15-cv-02487-CCC Document 164 Filed 06/21/19 Page 3 of 4



       7.     All the above, mixed with lack of communication and

uncomfortable situations between the attorneys that appeared on

his    behalf    on    the    case,   led    Plaintiff        to   change    his   legal

representation.

       8.     In the jurisdiction of Puerto Rico an attorney is not

entitled to withhold the client's documents and papers, as well

as there does not exist an attorney's lien on the judgment money

obtained in a suit, In Re Velez 103 D.P.R. 590(1975), citing,

Cornier v. Superior Court, 96 P.R.R. 246, 248-249 (1968), even

though        controversies        regarding           certain     attorney's        fees

intervene. This rule is a corollary of the liberty of selection

which every citizen has to entrust a professional action to an

attorney, and should he deem it convenient, to withdraw the same

from him; as a last resort the protection and seeking of justice

cannot be subject to nor be stopped on the ground that the

attorney's      fees    agreed     have   not      been     satisfied.    Puerto     Rico

recognizes      no    attorney's      lien       for   professional      services.     A.

Mendez & Bro. v. Chavier, 39 P.R.R. 661 (S.Ct.1929).

       9.     Tamaroff raises the Laws of Florida as the applicable

to the relationship between Plaintiff and Tamaroff, but the case

is    being    seen    in    the   jurisdiction        of   Puerto   Rico,    with    the

acquiescence of Tamaroff. Tamaroff filed the case originally in

Florida, but as per Docket 32, Tamaroff voluntarily agreed to

move the case to the District Court of Puerto Rico.


                                             3
     Case 3:15-cv-02487-CCC Document 164 Filed 06/21/19 Page 4 of 4



    10.   Since attorney charging liens do not exist under the

Puerto Rico jurisdiction and this Honorable Court does not have

jurisdiction over an attorney-client controversy under Florida

Law, the notice of charging lien should be stricken from the

record.

    WHEREFORE, it is respectfully requested that this Honorable

Court take notice of the above and strike the Notice of Charging

Lien at Docket 163.

    RESPECTFULLY SUBMITTED.

    I HERBY CERTIFY that I electronically filed the foregoing

with the Clerk of the United States District Court using the

CM/ECF system which will send notification of such filling to the

attorneys of record.


    In San Juan, Puerto Rico, this 21 day of June, 2019.


RIVERA ASPINALL, GARRIGA
& FERNANDINI, PSC
1647 Adams St.
Summit Hills
San Juan, PR 00920-4510
TEL: 787-792-8644
Fax: 787-792-6475

/s/Julian R. Rivera-Aspinall
Julian R. Rivera-Aspinall
USDC PR# 208506
Email: aspinall@ragflaw.com

/s/Eduardo R. Jenks Carballeira
Eduardo R. Jenks Carballeira
USDC PR# 300110
Email: edjenks@yahoo.com


                                   4
